                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLORADO



Civil Action No. 1:24-cv-1508

COLTON JOHN HARRIS,

        Plaintiff,

v.

TAKE-TWO INTERACTIVE SOFTWARE, INC.,

a Delaware corporation,

        Defendant.




                       MOTION FOR APPOINTMENT OF COUNSEL




        Plaintiff, Colton John Harris, respectfully submits this Motion for Appointment of

Counsel and in support thereof states as follows:


     1. Introduction

               Plaintiff has undertaken this legal battle with unwavering determination, despite

        facing significant personal challenges. As a disabled individual, Plaintiff has confronted

        the daunting task of representing himself against a large and powerful corporation. The

        journey has been arduous, akin to the biblical struggle of David versus Goliath. Despite
   his best efforts, Plaintiff has come to the realization that professional legal assistance is

   necessary to proceed effectively and to ensure that justice is served.

2. Foregoing the Right to Self-Representation

           Plaintiff respectfully forgoes the right to speak on his own behalf and entrusts this

   responsibility to appointed counsel. Recognizing the complexity of the legal issues

   involved and the disparity in resources between himself and the Defendant, Plaintiff

   firmly believes that professional legal representation is essential for the fair and effective

   adjudication of this case. Plaintiff intends to work closely with appointed counsel but

   requests that counsel speak and act on his behalf in court.

3. Plaintiff’s Current Situation

           Plaintiff is currently self-represented and has encountered immense difficulties in

   navigating the complexities of this case. The legal intricacies and procedural demands

   have proven to be overwhelming, particularly given Plaintiff's disability. The disparity in

   resources between Plaintiff and the Defendant has further exacerbated these challenges,

   making it exceedingly difficult for Plaintiff to effectively advocate for his rights.

   Additionally, Plaintiff is experiencing significant emotional stress, lack of sleep, and

   financial strain, all of which hinder his ability to adequately represent himself. This case

   has been ongoing for several months, further intensifying these difficulties.

4. Necessity of Legal Counsel

           The appointment of counsel is essential to ensure that Plaintiff's claims are

   adequately presented and that all legal arguments are effectively articulated. Plaintiff

   firmly believes in the merits of his case, but he lacks the expertise to properly address the

   legal standards and procedural requirements. Professional legal representation would not
   only level the playing field but also provide Plaintiff with the necessary support to

   navigate this complex legal landscape. Moreover, the appointment of counsel would not

   cause any hindrance or prejudice to the Defendant.

5. Faith in the Judicial Process

          Plaintiff humbly submits this request with profound faith in the wisdom and

   fairness of this Honorable Court. Plaintiff is convinced that with the assistance of

   competent legal counsel, justice will be better served, and the proceedings will be

   conducted more efficiently and effectively. This belief is rooted in a deep trust in the

   judicial system and the hope that the Court will recognize the inherent challenges faced

   by a disabled individual fighting alone against a powerful corporation.

6. Conclusion

          In light of the foregoing, Plaintiff respectfully acknowledges his limitations and

   places his trust in the hands of this Court, praying for the appointment of competent legal

   counsel to represent him in this matter. Plaintiff has fought valiantly but recognizes that

   the complexities of this case require professional expertise. By granting this motion, the

   Court would not only facilitate a fair trial but also uphold the principles of justice and

   equality. Plaintiff also humbly requests that the Court appoint counsel before ruling on

   the motion to dismiss, to ensure that all procedural requirements are properly addressed

   and claims are made properly.

   WHEREFORE, Plaintiff respectfully requests that this Court grant his Motion for

   Appointment of Counsel, appoint counsel before ruling on the motion to dismiss, and

   provide such other and further relief as the Court deems just and proper.
Respectfully submitted,




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Date: [7-13-2024]
